28 F.3d 1209
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Alfred HAZE, a/k/a Larry T. Johnson, Jr., Plaintiff Appellant,v.Karen POLINSKY;  Deanna D. Shumate;  ClassificationDepartment;  Patty L. Huffman, Defendants Appellees.
    No. 94-6281.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 23, 1994.Decided July 19, 1994.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Samuel G. Wilson, District Judge.  (CA-92-760-R)
      Alfred Haze, appellant Pro Se.
      Mark Ralph Davis, Office of the Attorney General of Virginia, Richmond, VA, for appellees.
      W.D.Va.
      AFFIRMED.
      Before MURNAGHAN and WILKINS, Circuit Judges, and SPROUSE, Senior Circuit Judge.
    
    PER CURIAM
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Haze v. Polinsky, No. CA-92-760-R (W.D.Va. Feb. 28, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    